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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division
  UNITED STATES, et al.,                        )
                                                )
                         Plaintiffs,            )
         v.                                     )       No. 1:23-cv-00108-LMB-JFA
                                                )
  GOOGLE LLC,                                   )
                                                )
                         Defendant.             )

          LOCAL CIVIL RULE 5(C) NOTICE OF FILING OF MOTION TO SEAL


         PLEASE TAKE NOTICE that Plaintiffs filed a motion to seal its memorandum of law in

  support of Plaintiffs’ motion for adverse inference, and to seal portions or all of exhibits 3-11,

  15-16, and 18-37 attached to the memorandum. Pursuant to Local Civil Rule 5, Plaintiffs hereby

  notify Defendant Google and any interested non-parties that they may submit memoranda in

  support of or in opposition to the motion within seven (7) days after the filing of the motion to

  seal, and that they may designate all or part of such memoranda as confidential. If no objection

  is filed in a timely manner, the Court may treat the motion as uncontested.




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  Dated: August 2, 2024

  Respectfully submitted,

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